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lN THE UNlTED STA'I`ES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

Jason Gaza

Plaintiff CIVIL ACTION FILE NO

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Auto Glass America, LLC

Defendant

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Plaintiff, brings this action against Defendant, on the grounds and the amounts set `
forth herein.
l. PRELIMINARY STATEMENT
This action arises out of the facts and circumstances surrounding text messages made
to the Plaintiff. Plaintiff, an individual, institutes this action for actual and statutory damages
against the defendant and the costs of this action against Defendant for violations of the
'I`elephone Consumer Protection Act (hereinafter “TCPA”) 27 U.S.C. 227 et seq.
II. PARTIES
l. Plaintiff is a natural person residing in Pasco County, Florida.
2. Defendant, Auto Glass America, LLC (hereafter “Auto Glass America”) is an automotive

glass repair company who markets to consumers using text messages made using devices that

are Automatic Telephone Dialing Systems.

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3. Defendant can be served upon their registered agent, Registered Agents Inc., 3030 N
Rocky Point Drive Suite 105A, Tampa, Florida 33607.

llI. JURISDICTION AND VENUE
4. Jurisdiction is conferred on this Court by 28 U.S.C. 1331 and 28 U.S.C. 1367.
5. Venue is this District is proper in that the Defendant transacts business here and the
conduct of underlying the complaint occurred in Pasco County, Florida, which falls under the

jurisdiction of the Tampa Division of the Middle District Court.

lV. STATUTORY STRUCTURE TCPA
6. The Telephone Consumer Protection Act, 47 U.S.C. 227 (“TCPA”) amended the Federal
Communications Act 47 U.S.C. 151, et seq. (“FCA”) to address the uses of automatic
telephone dialing systems, artificial or prerecorded voice messages, SMS text messages
reviewed by cell phones, and the use of fax machines to send unsolicited advertisements
Under the TCPA “automatic telephone dialing system” (hereinaFter “ATDS”) means
equipment which has the capacity-
(A) to store or produce telephone numbers to be called, using a random or sequential
number generator; and
(B) to dial such numbers.
See, 47 U.S.C. 227 (a)(l).
7. Under the TCPA, it is unlawful to make any call (other than a call made for emergency
purposes or made with the prior express consent of the called party) using any automatic

telephone dialing system or an artificial or prerecorded voice message to any telephone

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number assigned to a paging service, cellular telephone service, specialized mobile radio
service, or other radio common carrier service, or any service f`or which the called party is
charged for the call.
8. Under the TCPA, a person or entity may, if otherwise permitted by the laws of the rules of
the court of a State, bring in an appropriate court of that State:
(A) an action based on a violation of this subsection or the regulations prescribed under
this subsection to enjoin such violation,
(B) an action to recover for actual monetary loss from such a violation, or to receive $500
in damages for each such violation, whichever is greater, or
(C) both such actions.
If the court finds that the defendant willfully or knowingly violated this subsection or the
regulations prescribed under this subsection, the court may, in its discretion, increase the
amount of the award to an amount equal to not more than 3 times the amount available under
subparagraph (B) of` this paragraph. 47 U.S.C. 227 (b)(3).

V. FACTUAL ALLEGATIONS
9. Plaintiff is the subscriber of cell phone number 813-758-4367.
lO. PlaintiH` never gave express consent to the Defendant to receive text messages to his cell
phone number.
ll. Defendant Auto Glass America or its agents texted no less than 5 times (five) with an
ATDS to the Plaintiff’ s cell phone number listed above.

l2. Text messages made with an ATDS as defined above constitute calls for the purposes of

the TCPA,

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VI. TCPA VIOLATIONS
Plaintih" repeats, re-alleges, and incorporates by reference the foregoing paragraphs

The Defendant’s violations of the TCPA include, but are not limited to, the following:
13. The actions of the Defendant individually and collectively violated the TCPA.
14. By the Defendant or the Defendant’s Agents texting the Plaintiff’s phone without express
consent with an ATDS the Defendant violated the TCPA. 27 U.S.C. 227
15. By the Defendant or the Defendant’s Agents texting the Plaintiff’s cell phone knowing
they did not have express consent to text or call with an ATDS the Defendant or Defendant’s
Agents willfully or knowingly violated the TCPA. 27 U.S.C. 227
WI-IEREFORE, Plaintiff prays that judgment be entered against the Defendant for the
following:
(l) Statutory damages pursuant to TCPA 47 U.S.C. 227 (b)(3);
(2) Statutory damages pursuant to TCPA 47 U.S.C. 227 (d)(3);
(3) Injunctive relief;

(4) Such other and further relief that the Court deems just and proper.

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